mee uw ot “8

£0
‘COT ‘66 96~S6 ‘28 ‘Sg ‘Joe Aapaag
69F ‘SEF ‘SOT ‘FEL ‘Ware, ‘Aroq
SSF ‘sUloyyen Arey ‘uosajeg
CPL ‘THT ‘oupsLYO-aneyy ‘ynermg
9ZT
‘SAT EL-ZLT ‘(UNY) ym 94g ul Joofasng
FO? ‘OLT ‘GFL ‘SPL ‘ZFT
‘TPL ‘SET ‘GOL ‘ZOT ‘amdiag ‘opreg
TPP ‘SEE
‘BLE ‘OLTZ ‘SLE E9T ‘ERT L7z
“S6L ‘T6E ‘IST ‘OSL ‘82-02
‘ZL ‘OLT ‘E91 OST ‘(CUT) opaoquing
Cc L L ‘euuy ‘yoloueg
CPF ‘89€ ‘29 ‘oon yeg
6S€ ‘satel ‘MMpreg
BIT ‘OLD aayEg
61S ‘STS Jajag ‘Ynoyeg

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£-ZOG ‘Wamy ‘yueay
906 ‘E71 ‘saaely EUEpy

EET ‘syoorg ‘TOSULyTY

SF ‘Paty ‘onejsy

LI-OTS ‘oepy ‘peessy

PE 'TL-TLE “OLE ‘Z9€ ‘eH Aqusy

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TATE emery eseg

Yad waaay puequuy
Z67 ‘Haqley Jayaydy
£55 ‘99¢
"S91 SOT ‘SST ‘(unTy) Aepsaupay fuy
SFT ‘SET ‘601
‘LOT ‘(UTG) upwios, paqwatn poo puy
S45 ‘771
‘SY oWeuIeIQ jo AMapeoy UBOLISUTy
89 ‘eAa]§ ‘OaTTy
STE EI-ZTE ‘(éeyd) suog A ny
SET ‘Wosjayy ‘uerzTy
PLT BRI ‘oureyy
SSP ‘(Hy) pop fo seuby
TAT SEL ‘ZCT ‘ETT ‘Orpmys sscjoy
LET ‘PIT
‘eHauy 1u0gy ‘sassoyy yooys fiayy pire
GE-SEP ‘STP ‘Puog uapjoy ug pire
UPTF ‘Ss 0} G pur

$9¢ ‘oyn{ pue-
Z£G¢ ‘ye Jojuasazd se af
6E-BEP ‘STH ‘62¢ “Bpuoy Amay pur
CSP
‘LOP 'SZE ‘SPE ‘auoqy Bumuoy) pure
£9 ‘Updeyy 107
CEP ‘CCH ‘Spremy Auapeay
ELS ‘T9€ ‘P]feq ‘anzqy

09-65 'TS-OS ‘SF
“YJnod POoNp YS eraszopye; s,qf pure
LP Gag s,qf pure
SET TET ‘SEL ‘PZL ETT ‘ZZT
‘OTT ‘6TT “OTT '66 ‘ssaqjae se af pue
SET Jo sade poomAljoyy
SET
‘PE-ETT ‘STT ‘EEL ‘66 ‘86 ‘89
‘OS ‘TELE “PE JO t90180 poomAyory
966
"'PE-EE ‘OF JO punordyorg Apu]
SPF ‘O87
‘TZ ‘ZE-PE Jo JoaTes Wpy/sqol Ae
ZEs
‘LE-SPP 'FE-EPP ‘6EP JO Weep
SE “PE ‘Jo PNA /pooypyyo
ZOP ‘261
own “GE E-BEF 246-66 64 Aqapeo. se
SCT ‘OIL ‘£6 ‘SZ 'Z9-T9 ‘09
‘£E ‘Te ‘OT ‘Il ‘jo daa IRD Avmpeoig
6£-8EF
‘SCP 62 ‘Spremy Auapesy pur
£26 966
“TES ‘OOF ‘SSP ‘LOR ‘LEP OPE
‘CPP ‘OPP ‘(LEP ‘SOF ‘OUP-Z6E
‘SO-28E ‘TBE ‘TRE “BOE ‘ZOE
‘LPE ‘THE “GEE ‘BOE 997 ‘IST
‘LPC ‘SCT ‘GLE ‘BI-L1Z ‘LIT
‘T6T 'Z8T ‘891 ‘99T ‘ZOT ‘EST
‘SPT ‘TIT ‘ZOE ‘90T ‘SOT ‘FOT
‘COT ‘OOL 'P6 ‘76 ‘FS ‘78 ‘18 ‘O08
‘BL-Z£L ‘EL ‘TL ‘FOO ‘GE ‘CE CP
‘6E “BE ‘OT-ST ‘(s9q)8]) Atooy ‘epuog
COT ‘66 ‘PE-CE ‘(QWUNe) Joey ‘epuog
TP ‘Uaaig §,4f pue
IP‘CE
‘87 ‘97-Sz Jo punorsyoeg Fwy
£9°6T ‘OT-ST ‘FI jo eor0arp
EOC ‘SHE PR 'LZL ‘EZ
‘T£-69 ‘ZT ‘G1-9T ‘JO aploins yeep
67 ‘87 ‘97 ‘Jo TNOA/pooyppyo
97 JO Gq
LLG ‘95S ‘STS ‘77S ‘'66F
‘TOP ‘TSE ‘PGT ‘OLE EST PET
“PS-EST ‘06 ‘08 °S9 ‘79 ‘T9 ‘6S
"ZS-95 ‘ES-OS '6F ‘SP ‘OF ‘ob ‘TE
“6£-ZE “GE ‘OL-1Z ‘SI-ET ‘TI-Z
‘(aoqj0un) ANOULAaS ssoURIy ‘epiaog

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EVP ‘GER ‘TT ‘(e09") jospug 'epuog

L8P
‘S8h EPP '[afM 8 Jajag) Sjoog ‘epuog

SEL ‘TIT

‘OET ‘Z0T ‘90L “SOL ‘POT ‘ZOT
‘OOT ‘86 ‘(AaTpoudsys) erapry ‘epuey
TOT “OPTED ‘Oysiy
Tz ‘(Aeqd) 49q0700 uy fiopuopy sa]
€Z¢ ‘(Aveyuatamoop) asnoy ang ui aig
TSZ ‘Cel ‘FLL AES ‘PIS

JUSTAAOH § atom OS]D 239

B95 ‘SOS ‘BSS ACS ELS '46-G6F
‘OTF ‘E-COF ‘AST EST ‘8b “UST
OTT ‘(anTy) Auors Ta auL
PIC ‘TOT “BIW “Mowe y

66€ ‘86€ ‘AUTTeAl ‘yeaa
68 ‘tZ-02T ‘ata eonsaf  --
pue g08a] Io} Arysnpuy JUSUINTE Jap
GZS ‘09S ‘85-266 ‘16 ‘9aq UopsDY
SSF ‘spremy Atuuory
86-€6 ‘06-68
“$8 ‘OF ‘JOOS SMIpweog paeyLy PUA
UPCE GEE CZ-TLT ‘Tau ‘saoqsyyy
80F
*“68E ‘ELT (UG) uewass0ry o09f7] ay,
697 ‘ISZ
‘elt ‘ZI ‘TEC ‘907 ‘10d ‘sprempy
6LS “ESe ‘TWaUA UeLeyy ‘ueWspy
OLP ‘GSE ‘GOT ‘(UTg) 4apny Asn

E9T “Meqoy ‘Teang
ZZ ‘F9-€9 ‘6T ‘OT ‘BURG ‘dung
CRC ‘ECT ‘Pleuog ‘ueoung
IST ‘6P7 ‘ERT ‘OZ ‘edey Aemerng
TPT ‘toy ‘Baad
OLE ‘SZE ‘papyory ‘ssnpéoiq

GZE
‘OE ‘GPE ‘SPE ‘Cpe Aouen ‘pmog
8-LOF ‘9ZE ‘SE ‘|PEQoIY ‘sePanog
FLT ‘Bpoureg ‘ueZauC(]
Z9€ ‘(UpY) asnoy s og y

8S-LoF¢
SSP ‘OL-FIF ‘(Wg AL) 4ayDUTOG ayy,
£91 ‘871 ‘alsuy ‘uosuppig
89g ‘aonIg ‘Usaq

£07 ‘O9T *ZS-9ST
‘SPL ‘PPL LIFT ‘otlaryes ‘eansueg

6gs XAdaNTI

£6€ 'T6E ‘OS¢ AUMMAy ‘José Taq]
OFT ‘SET ‘URTY ‘Uo

ZEE BZE ‘Waqoy ‘ON od

9ZT ‘OZLT ‘Ould ‘sTy Maney ac
FG ‘6£T ‘SUOUTS TTOAneaq ap
LP ‘oneq ‘seq

PLE SCT BSSUY ‘slaed

667 ‘O47 ‘907 ‘TPPV ‘si4ed
ELT ‘POT ‘SPT ‘Bleqreg ‘aur

Z29€ ‘E97 ‘sBs0aH TON]

O97 ‘E9T ‘piaed ‘Aqsory

SE [ ‘UNWE SOO ‘Se1Aet)-EISC:)
QQT ‘ed0y ‘UBUD

997 ‘ploy siomesy ‘ejodde)
OPP ‘Bley ‘Iado07)

9bb ‘PS (£9 Ares) adoog

pure puroyey) supary fiyspoagy 40f Guyyoo;)
Z8F ‘ESF ZL ‘TOF

ws "ORE 'LLE ‘OLE SL-PLE TLE

*89-Z9E ‘99€ ‘T9-O9€ '6F-BFE
‘Sh PPE ‘STE ‘(Ng) atuozy Bupu09
TES ‘Z0F ‘98E
*BL-ZLE ‘OLE ‘(WI]Y) uplwasioy v saui0
UPSE 'PS-ESE ‘sayTeYD ‘wospoD
197 , SUP, JEN ‘2/09
CPT ‘SOT ‘Ueal ‘neeya05
Z¢ ‘auasdouy ‘e307
GAT ELE '$9T ‘ETT ‘Way ‘ayoyo
ETS ‘UGSE “Ta ‘Uo
t1F
‘OLP ‘BUTYIOA, TeTIOAA PuepeAg)
TFT ‘SEI ‘GET ‘Quay ‘JuatHa[D
ZPS ‘KEW ‘PURTIIO
68P ‘eed ‘adeapp
ZTE ‘UOTE ‘Q7E Assay ‘ye[O
6f ‘PC-LE ‘24g BaMeT YIETD
STC ‘89 ‘FE ‘(CUTY) Mods aauaunyy
apuoy yy as ‘(UIpR) ead fo apap
FSF '8-ZOF ‘ABE ‘9BE
"LE-SZE ‘(UYY) atuoupuks vury? aify
Z0€ ‘667 ‘867 ‘ourepepy ‘TID
Z£S€ ‘OPE “297 ‘preypry SeusyD
OZLE '@9E TesaD ‘ZaauTD
EAT
‘99T ‘E9-COT TOT “(UIT) asnyD ayy,
EST ‘TST SOT ‘29 ‘equeYpD ‘aqdeyD

ST PT ZT een ‘TideqD
$27 ‘UT Teyppueyy
Sé-Fcs
‘O7S ‘16-68E ‘Z8e ‘Tuo'] ‘uspzep
Z£2E ‘LOT ‘(UaIg) noyE wD
26} ‘UWATBsoy ‘731785
Z26¥ ‘T9¢ Aum “To}IED
cep ‘Auuyol ‘uosreg
TZT ‘OZT ‘Uueypeld yorueD
£cF
‘PCE 'LOP '86€ “G6E “EGE ‘TEE
‘O6E ‘68E ‘Z8-98E “OLE (CHD)
ADBIDOWIA(] MOONY Ioj usredure7)
OOF-Z8E ‘98E ‘(uNTY) a7INg vRLLOfpDD
o¢s
“61S ‘ZT-€15 ‘CTS ‘Uy uoyeyudod
yhoge aotadayoos ‘N'7y) ‘IdAByq ‘OrTeD
, OP ‘Z2¢ ‘souref “teecy

€9T ‘spzAq ou,
89€ ‘BOC ‘Psy ‘suo }INY
So-PSE
‘OPE ‘GEE ‘997 ‘O9T “M adI0aD ‘sng
605 ‘887 “M'H 2810a5 ‘Ysng
89 ‘Uosyse! ‘aumolg
9¢ ‘OS
‘CP EP 6c SE '22 ZT OE ST TT
‘2 ‘(Ja]SIs-]]}Pq) (saotei 7) Weg ‘Meyorg
67-87 “77 ‘eBAoar ‘Meyouy
LOP ‘22-92 “Ua ‘sedpug
SFP ‘pel ‘sosprg
OPP APE ‘SCE ‘Paly ‘UPWUUeIg
99-F9E ETE
‘LIZ ‘SOL ‘Z9OT ‘PE “UOpey ‘opueig
[ZZ ‘617 ‘SUuBePy BPeN By] Iad0gq
T9E
‘BRE ‘(UOTQ) finf fo ypnoq ayy wo usog
CRT (UY) apAlD puny auuog
C6P ‘POF ‘ZSF SPP ‘S107 ‘oNsyUOg
29 ‘saayduny ‘wedog
095 ‘OZ ‘ZF ‘Uesng ‘Jeqyuomnyg
Z9€ ‘(UUTG) paler anygy
44S
“CLS 664 ‘GER PGT ‘O9T ‘TST
‘EPI ‘GOT ‘SOT ‘ZOT ‘66 “86 ‘S6
‘'P6-£6 '76 ‘SREB '7B-L2 ‘SZ EL
‘eZ ‘29 ‘(latpomidays) URsng ‘preypUuelg
FTE ‘CTE ‘ete ‘ovayeg

XAaNI ges
61-Z1F ‘0084 puke fony ‘uosuyel
EFT ‘LET Aysr9aquy ayeig Wosyou|

TéT
‘FET “(Aeyd) youn v 07 uOHDyAUy
Z9€ ‘ES-TSE
*(W[Y) Auauy ayy o7 uoyoNposuy
LPE ‘SPE “PRE ‘BEE 'GE-PEE
‘(Qd]) udtedumep soeag BUTYSOpUl
ST-FIzc ‘WH Af ‘eIpuy
SET ‘(eapy) fing ayy fo yood ay3 uy
IZE ‘SOE ‘preqony ‘proyoy

£9 ‘uto[ ‘woysnyy
EZ ‘ITZ
‘CAL ‘TZ-OAT ‘(Yy) uenopung Haaney
99% ‘O97 ‘PPT ‘IV ‘pan
ECE
‘STZ “49'S ‘ovaH) Boy TUALOL)
SOUTANIY Ueooury-uy] 3snoy
TCE ‘SOL
‘QMoag [BUISIU] Wo 99))1GI077) asnoxy
6S ‘S9L ‘SOT 'Z9T ‘simag Jaddoxy
TAT ‘O41 “Haqoy ‘syooH
29 ‘Way, pooméToH
£0 ‘OZE ‘STE ‘plaeg ‘TeuyjoH
£S¢ ‘aiqqy ‘UeUyjOH
CLP ‘OTF ‘Moo ‘smaaryy
ugz7e ‘TmomAag ‘Yys13zT
L£Z5 ‘SSS ‘TPS
‘OEP BER LED SER EE HTP
‘CE-OTP ‘672 ‘OUpEYyeY ‘WInqday
86 ‘Aaapny ‘uinqdepy
SPL ‘SOT ‘eury AemsoToIeyH
99¢ ‘POE ‘ZOT ‘URI ‘UeUlyPH
GL-PLE
‘ZZ£6 '£9£ ‘19-09¢ ‘Aral ‘WewyaH
OS7 ‘PSC ‘SORTTEM PABIIN ‘PSH
897 ‘WAjoIE? ‘UNIqTaH
TET A90[ ‘m0, JaT] Baz]
09 ‘SP ‘Z¢ ‘puRpT ‘premsey
S9T ‘SOL ‘'Z9OL
‘PET ‘TET EOL 76 ‘EL ‘TZ ‘OL-69
'89 ‘29 ‘O9 ‘SF ‘OT ‘ayoorg ‘premApyy
PEL 29 ‘SP Josplg ‘premABy
29 ‘Sh ‘Ths ‘premABy]
L£8E
‘PBC ‘TBC POT ‘BS—-ZSC Jo ssuytIM

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|

16S

‘PLE “OLE “29-99€ ‘ESE ‘SE-SPE
‘PRE ‘CE-LPE ‘GEE BEE ‘GE-PEE

‘SET ‘TS ‘89 *(WIY) Ysmuan fo sadmup ays,

XHTaNI

‘ZOF TOF ‘9Z-SLE “BLE “99E
9-09€ '6FE ‘SHE ‘SFE ‘2ONIG “YaOgH
oe T9E BZE BIE ‘OBZ ‘TLT
'O9T‘8SZ ‘7ST ‘SPT ‘FHT ‘EFT
‘THT, GE-LET ‘ST-ETZ ‘JuuIenow JH
€45 ‘OLS ‘89S 9S ‘67S

‘Oz ' ‘6TS ‘ZI-PIS ‘ESE ‘612
{ddVOr -) uoqusaaig Aoueudary

Wagsajopy 40} ustedure| ed10a5

PLT ‘ag ‘erezzey

. 9S- SSC ‘E97 ‘Uremoy ‘Arp

EFF ‘sate Tate

Sp épn{ ‘puepep
“SEs “ELS ‘99S 'TES ‘67S
ETS ‘96-S6P ‘T6P ‘O67 ‘OLE
S9O-F9F 'ZOP LEE CPE 6E-8CP
‘TEP ‘FCF ‘CIF ‘90F ‘66€ ‘FSE
HERE ZLe CLE-“OQE ES—EGE
S-6 PE ‘BPE ‘ERE ‘82-L£C7 SLT

rr" 120 ‘BIT ‘Z1T ‘(aos) Aoqy, AqeD

£9 ‘uyof ‘pequep

E4¢ ‘Q49H ‘Toupiep

9-SOT ‘SF ‘P}AID ‘oqaey

ZSE ‘OSE ‘Wag s,A0I], pue
SSF ‘'SS-FSF ‘ESb ‘8G ‘BIE
‘TO-L9E “GSE ‘JO Jaare9 peared
£9-FSS ‘GTS '69-89F '29-79P
‘OSE ‘Wo soJoarp/uoTeredas sat
ZS-L8T ‘POT “Gin Buyoaw say s,4f
ZOZ ‘SOHIETAa 896 Pur
987 ‘Jo Mod pue pooypryD
S25 ‘S67
‘CSP ‘TRE LOF ‘SFP ‘6C-8EF
‘PEP ‘OLP ‘'80P ‘9-LOF ‘Z8-98€
‘BSE TBE ‘SLE ‘ALE ‘GLE

‘TCE ‘ETE ‘OOE ‘ZHZ 'T6Z ‘067 -
‘S87 ‘SST “EBT ES-ZST ‘WO, “wapley,
G25 ‘Wer ‘uepée

“ERE ERE "987 08D -Uapary

SET ‘sousaney Aoaaey

PI-€T ‘opey ‘spay:

FIT ‘ayn ‘suey:

GPE GE ‘pol ‘sje

OSE ‘BTC ‘ped ‘Oey:

72 ‘Rg ‘Teosg ‘Mlays1auey

UOTE ‘06-687 “UH ‘Uewappey. TOF 98 ‘OLE
687 Japuexoyy ‘dey: ge T9€ ‘(Unyg) aunf pup yor ysT Ury
ZOT Airey ‘Wemsey 6ZE ‘ETE POE

‘9d-te 7 ‘smoys (AWITY 2Y] 2914) YL
LZT ‘sspry Wopasig
Cee "Ee sTau0T ‘SyURiz
CEP 'ZOT ‘POT “E-ZOT
‘0UT-66 , AO, satel ‘snostue.y
uosdad aifpads osyp aa5
BSE
‘007 66-261 ‘P6-EG6T ‘WIPUaIA pue
TO@—-O00Z “UT says
T&T ‘6ET ‘Uy epsyaasqjoyU
: 007
€6-£6L ‘Ul $1s0}0I1d /suCTTeysUOCTIAp
ce ESI ‘OF-GE [GT wasyunuzuOD
aouRly
oUtet Zz ‘WoYUSeAY ‘UOJMET 140]
 GE-LET ‘OPBIO[OD ‘Nosiey WO
BLL ‘SLT douady dupepoyy proy
STT ‘OTT ‘Usellg ‘paog
” 987 ‘TS 'SE-FE ‘EE
{(JatEypUBIT) sowIg WELL, ‘EPUCJ
‘OT 'Z9T “(2PM 5,to}0g) Uesng ‘epuog

#S7Z ‘aodo{ Jagey.

89E ‘Opty ‘SETyIND:

6TE ‘90E ‘Pre19H ‘sumeyn

TCL ‘anesqy, dno

T6€ ‘AIO WN,

EPP ‘Pol Keag:

E27 ‘897 “NoIq ‘As0da19-

LZ

‘pO ‘C9 ‘OT ‘OT Amepeoy Yas}
LPP ‘OPP ‘SEF 'C9E ‘STZ TOT

SP ‘Arey qWEIQ

EOP ‘UMEYeY ‘WeYyelD

9-SOS ‘CZF TEIN A9qoeqiof

$26 ‘SpIBMyY aqgo]s) Wapjoy:

B47 ‘BEL ‘o0'-Ue9{ ‘prepor)

Zé ‘dvID

O25 ‘Z5-995 ‘ToIRD ‘aes:
SSP ‘ZSP ‘BPP 'LI-9CF

‘STP PCE ‘OTP UFLP ‘OTF...

XHaNI

Str
‘EGE ‘CEP ‘OFF ‘GOP SER LEP
‘PTF OOP-LBE ‘THE “BIZ ‘ZIT
‘(qaqj}0uIda}s} sumepy sapys ‘epuoy
LES ‘98F SSP PLE
‘OLP EPP ‘STE 'Z8E ‘GSE ‘TPE
‘OLE ‘907 ‘BOT “GOT ‘SOT ‘TOT
‘P-E0L ‘COT ‘OOT ‘66 '€6 ‘76 'S8
‘T8-Z2 ‘SZ °EL-72L ‘£9 'F9'Z9'T9
‘ES ‘OS “SP ‘Eb ‘ZF OE ZT ‘GT-ET
“TT ‘OT ‘6 ‘2 ‘(aqy079) ay0g ‘epuog
€FFP ‘(Moqdang) uysnf ‘epuog
PE ‘Ef ‘Qune) sudR[ ‘epuog
89-996
“TS-OSS ‘0-675 ‘Jo {qjenqaids
CE-TFS ‘€£S ‘ZE-TES Ayes ye
8 ‘44 ‘72-69
'6T-ZLE ‘opps qyeep s,JopOn PEE --
9T-ST
‘BT ‘aasoarp Alu9H-so0uR1q pue
£517
“G-POT ‘OT ‘66 '86-€6 ‘06-68
"88 ‘S8 ‘OE ‘ST ‘OT ‘Jo Uopeonpe
SE-OZ1 “FE-BUT ‘ES E-ZIE
‘OTT ‘001-66 ‘Jo Jea7e9 Nyy Ajzea
Tes
‘P£-£9 'S9-T9 ‘OZ-EL ‘TI-Z
jo Gynod /poogpplyp inoysouue9
F6TC ‘09-65
‘£S-GS ‘ES 'TS-OS ‘SF ‘OF ‘PZ-£Z
‘TT ‘6 Jo Gynodpooyppyp eroaopye|
TP ‘LF ‘OP ‘Z€ Jo Ug
auR{ ‘epuo4
PE ‘CE ‘(IsqjowpueIs) By19q 13H ‘epuo.y
P67 ‘S6L ‘6S
‘TS ‘SP ‘ET ‘TT ‘T1J8M Pom pue
66 ‘86 ‘FE ‘Jo Zupoe jnoge smarts
06 ‘UOIS {a1 pue
ZAL ‘89 ‘FE ‘sonssy 9987 pue
£9 ‘$9 ‘soryjod pur
ESL
« SpRdO(] ayy jo 4J1eq ayy, puw
SE-LEb OTP SCP PCP CCP
‘TEP OCP ‘GZE ‘Puay uapjoy uO pue
29-19 ‘61-Z1 ‘FI-£1
‘TL ‘OT ‘6-8 ‘YModpooypyys
ynsyosuND s, qf pue
:(p,quos) Aruay ‘epuoy

O6s
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89-995 ‘1S-O0S5 ‘O£-675
"2 6F 06 ‘89'25 Ayenguids uordyes
OF ‘qQoy NPY
OF ‘SPUN Jauley
99¢
‘EOE COZ “99-SOT ‘BSSAUBA ‘OaRISpoY
68E ‘SAT ‘ELT ‘£9T “Maqoy ‘Psojpsy
FOT ‘Tg ‘soul, Tery
29 ‘ppeuoy ‘deseoy
O6F 'S9€ ‘TST ‘atanOg ‘HEY
TOS ‘]EMoY ‘saurey
66% ‘26 ‘TZ-OLI ‘89 ‘PE ‘sans! ser

OLE “PLE ‘TI-TLE “Z0€ VONH
ELS
‘(AreyuaMMaop) puag $,295) fo sHING ayy

60S ‘HOD ‘yjemog
OZ-6LS 'ZT-£TS
‘TI-LLS ‘FL-EZP ‘souss} UoTEpadod
€€S ‘Liz ‘807 ‘207 Aeupdg 'yeT[Og
SOT ‘EOL AoUpls syl0g
9ZT Auoyyuy ‘surpag
SET ‘(ayy) Wauasnipy so poptag
BSE ‘GEE ‘SEE B8T
"PR-ERZ ‘TL-LZZ ‘suadeg noses
SOL ZOT aypsry ‘uA
7S¥ ‘OSPF ‘Asoseap “yoag
COT ‘£97 ., epesad 9y] Jo Ayreg oq,
SSP ‘OPP ‘1ZF ‘9T-STP
‘PLP ULF ‘OTP ‘96¢ ‘Afod ‘woe
PSE 'LZF
‘QLE‘LLE ‘PGT ‘TST ‘IST ‘6PZ
‘SET 'TE-OLT ‘ETT 06 ‘URTV “FINRA
ScP
‘TUE LTE 99E£ ‘PLT ‘amippeuey ‘sed
PIL ‘EEL ‘68 TY ‘ouped

T6T ‘89 ‘PE ‘(UOA) Waplouy MOg-XO ayy
SOT ‘spoysiry ‘s1Sseg

SSS ‘GPP ‘OPP ‘OFF ‘GE-0ZF
‘622 ‘FE-ETL “(H) plied wapjoy uO
ISP ‘OSPF ‘6ZE *(tUY) BUD PIO

66% ‘62> ‘Apnl ‘a4N
VIF CIF
‘UOTE ‘OTP ‘SEE ‘Use ‘UMegssnN,

OFT ONO TesuMeTg ~

LGE "SSE ‘PS-EGE ‘SPE
“PPE ‘CPE ‘TRE ‘BEE ‘PEE ‘OEE
‘ATE UGZE "STE “PTE ETE ‘STE
‘OO’ 667 ‘267 ‘U6-L8T ‘SZ-FLZ
‘CLT ‘GOT ‘FIZ ‘9ST EFT
‘LPT ‘TOT ‘E6T ‘29 “WW PleyaTy ‘WOxIN
PSP ‘STP UPLE
‘PLP ‘TTF ‘OLP ‘96€ ‘(UG $ 016
99 LC ‘Z9T ‘youl ‘GespoqsIN
LE-OPE ‘SCE el 'TOUDIN
REP COT ETT ‘neg ‘UeuImayy
FEL ‘9pm ontIpD BWIEA yaox Mon
ZPE SEE GAT ‘FLT AIO TAN
ZT ‘PIP PIMIEN
L8TZ ‘TBTLE-SET
‘ZZ-1EE ‘61 ‘SUBOWOUTY aAHeN
98E
“sao TOIMO? Joge'y fo SHSneD TEECHEN -
uOLP “Wad AA,
BupIOM, JO TopeIDossy [eOneN
ROT ‘gs0[-oFe WY ‘JEN

QPL ‘ETz ‘UsjoreD ‘TedNy

87s ‘CLP We Ajqeaad ‘as JOP

SSF ‘SEP (wg) aay Suto ayy,
LPs ‘ILS ‘FOP

‘F9T ‘9S-SSL “FST ‘UIqo" ‘UeaI0;y
SLT 'OZT ‘86-261

‘TET ‘GET ‘SEL ‘So4K ‘pure

E25 ‘TOE *(UNT) Mw TU saysuOYy
ZLE ‘SEL ‘ZL ‘TEL ‘61-8TT

‘OLT ‘SI-FTT ‘Wd Heyy ‘sommeyy
LET

‘(Tey 9t) pug 0} UoReZTqoW]) THOM

gS-2S5 ‘Ted ‘TeqouIW
STL ‘SZ ‘89 ‘@9-T9 ‘09

‘ST TT ‘(jeoisn0uyg) swaqoy 49)STA

CLF ‘SPT Aue TW

Z7-9TZE ‘SLE “Wostpy IAW

STE ‘EL-TLE MY FTL

6SE ‘SE ‘AITY OTT

O9€ ‘6SE ‘(UTY) AogmoD TYyBrupN

6F-SPE ‘PREYS ‘PEYSOW

OZT ‘ssedany ‘Wyiparayy

Z9E ‘SPE ‘OAT AOABPa]

gag ‘audel ‘smopesyy

OSS ‘TE-0¢¢ AoueN SINDOW

EPP ‘62 ‘Aqjosog ‘aunHoyy

£6% XAaNI

IZE ‘STE ‘834094 ‘aaogoyy
PPE ‘THE “Al “AM sourel ‘pr0p9}]
TZE ‘S72 ‘£9 SG ‘Ydesol AqieNoy]
TZ1 “EW smoy Gadeyy

SOT ‘BS[5 ‘TeMxey]

CSP JaqyeM ‘Neyyey

TOT ov] ‘UpAseyy]

TIP ‘SA01g ‘Ue

R89T ‘SOT ‘Wensiag9 ‘puenbieyy
LZz ‘POL JOTRURW

6TP ‘qdeso[ ‘zoLmapeyy

68h ‘Wos|an ‘ejapueyy

996 ‘Z-1T0d ‘X WOOReW

€TL ‘Bop ‘xuppeyw

Pre ASPITIS ‘UTE TAB

OFE ‘PRE “EBT ‘TRC
“697 . Bette Aqry,, Goi epeqsry
SPP ELT 66 ASUpTs ‘JouNT]
gfe
*E9S ‘TES ‘OTS G6F 'L6F ‘967
‘C6P ‘TEP ‘OLP ‘Z9P ‘P8-ZSE ‘ONT
OZ ‘emgdos ‘uaro07
OLE ‘SE-PET ‘EET
‘LET ‘STE ‘STL ‘09 ‘9 ‘enqso[ ‘uedoT
6PE ‘297 “[yasqoy ‘UOT
CPS ‘EL-ZES ‘Oopra oy
777 ELT LZ ‘TW ‘SMeT
BEL ‘(uyy) sured so
OTT ‘WAarsypy Aoys']
80F
'SZE‘S9L ‘STL ‘PTT 3ae[ ‘uommnay]
SZ-Z£2T ‘227 ‘OZT ‘Aya URof ‘Mey
FEL qngy.y ‘SpUOINeT
ZOS ‘OOS ‘96% 'Z-LOP ‘PS-TSE
‘ez¢ ‘dueg/youry ssupds pamey]
COE ‘OOF ‘URA BY ‘ney]
9g ‘Dopady ‘ayonoyey
€97 ‘OFC ‘£77 “ABW ‘aueT
REF OAT ‘ng Jayseoue']
FI-ELT ‘OPERA ‘Bpuoje’y
L£9P
‘POF ‘GG6E ‘86E ‘96E ‘HNL ‘pucyey
IST ‘SFT ‘QET ‘(Tg) apuoy pT
OLT ‘(ug) (4aag sy ates) ayy) agang BT

OP
‘OSE 'ZF-GPE ‘SEE LBZ ‘[OreD “ayany

PSF ‘Sy ‘Wostayjoysiny
GLE 'Z9€E
“LOE ‘BPE BPE ‘SP-PPE UO" A0Y
ASS ‘C&P TCP‘ LLE 'O8-6LE
‘ELE ‘O9T ‘SS-1SZ ‘6b-8PZ
‘LZbT ‘ETT SST ‘OST “06 ‘(uNy) aay
€Z-CTZE ‘PlByorY ‘Usipulapy
25€ ‘BEE
‘€6T ‘O6-B8Z ‘9S7 Alay Wasussry
8g ‘Bptrepog ‘BuIy
OZP‘79E ‘L6e
‘007 ‘TPT ‘89 “af Joqirr] Upaepy ‘Bury
OFE ‘O9Z ‘UYo[ Alay
CPE
‘CRE ‘LET Ayssaqul) ayeyg Jay
eg Aroy Apsumey
TOZ ‘T#E ‘eqoy Apauuay
L£LE BEE TES TST CIT
‘OFT ‘OF-GET ‘SOT “a Gyo! Apanuay
OF-6ET ‘SOT ‘ouTnboe[ ‘Apauusy
E/T BIpNelO Apsuusy
GOT ‘a9RID ‘Apay
£9] ‘ouap Aoy
ZO} Aes ‘wewaey
FET ‘SEL ‘ETT Ble ‘Uezey
89€ ‘COE ‘29 SuURQ ‘adey
TOP ‘OLF PQGEC TSMe[OIEY
PGE EGE ‘enys ‘RY
POE EGE ‘A1QQ9q ‘FeW
STZ ‘OST ‘8ZT ‘eulneg ‘ey

GCE
‘CCE ‘TLE ST] ‘Woeuysedag aoysn{[
TOF '98€
'S9E ASE ‘O9€ ‘POE ‘TSE (UNG) wmf
66 ‘06 ‘SUgSLIYD ‘aasuadio/[
FSP ‘stuel ‘uypdof
L259 €€S ‘TES ‘ZZE ‘PIE
'F9-€9 ‘79'S ‘ES ‘Aljes ang ‘sauo{
SZE‘R9E 'AIE ‘SHE aqoy ‘soul
OFS ‘69% AOUINA ‘souo[
£€S 'P9'z7g ‘CS
‘eg ‘(qaqyour s AWES ang) ‘sayy ‘savo[
OLZ ‘76 Joa ‘satiof
TET ‘dea ‘sauof
ETL ‘Aaddiyp ‘ssuo[
6E-SEE ‘TEE “66 ‘SET ERC
‘Pel ‘LOZ ‘E67 “HY UOpLAT ‘uosutof

XFaNI Z6S
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®

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ocG
‘'8ZS ‘SOP ‘CPE ‘“GI-L1Z ‘9T-STZ
Woy aJoalp/uonetedas §, qf
O£T '6-ROT ‘YPM JoyuN0sus JsIq SAL
957 ‘O81 ‘8Z-92T
‘TAL ‘OLT ‘GOL ‘TST ‘8PT ‘SPT
‘SET 'QET ‘GOT ‘SOT ‘ZOT 3° SIG
SE-PPL “ZOT ‘Jo af Ayaee
COP ‘BEL ‘OLT FO}aIp se
CSS ‘PSS ‘FRI ‘CP-IFL Jo Yeap
SSP SOP PAE ‘OLE *Z9€ ‘TPE
‘QEE 'OBT SBT BLT ‘OLZT IST
‘LET ‘SET PET ‘ELE TES ‘ELE
‘TLE ‘202 ‘F-€07 'ZOZ-G4T “Z6T
‘C61 ‘PGT ‘C641 ‘Z6-T6L ‘€8-L8T
*B9-Z9L Z9-T9T ‘BST 'Z5-ZST
‘ORL ‘ZE-9FL ‘EFT Jodoy “Upea

ee Rg T “dorg “UpEy:

GZS
‘TES ‘IGP ‘SGP ‘TOP ‘OLE ‘SOF
‘COP ‘PSP LIT TUT POT ‘TST
‘SOL ‘Z9T‘Z9OT ‘TOT ‘O91 ‘8ST

‘OST ‘IST ‘SPI ‘ZFT SUeQIEN ‘UNpeA
Gis
‘ELG ‘EOS ‘SOS ‘PSS ‘SES ‘FFI
‘TEL TPL ‘(Gosptres3) mjaspeyy “TapeA,
SoS ‘ZALZ ‘SST ‘euaay ‘MPRA
£02
‘OOT ‘BST ‘997 ‘URYSHYD “UTP,

S/T‘LEL ‘9€-G& ‘Sader Alisseatay)
ZE-LPZ ‘OokaW MON Jo AlisJearuy]
CTS ‘SOS ‘GoHepunoy suoTyeny Powty)

OTS ‘67S ‘ZT-€1TS ‘Z1S ‘C6F
‘TSP ‘9S€ ‘OFE ‘TCE ‘SUOTEN pelts)
824€ ‘ZOE ‘STayIOM We] poyOf)

ZE-TEE ‘16 {AT-Oa¥) 07 /0T
BET 66 ‘FE ‘(WITG) Uapy Aubuy ZT
90P ‘puouisac] ‘nny,
CZF ‘PIBMY MOLIOUWOY, ONIN],
S29 'TRS ‘OzS
‘STS ‘TES ‘UoHepmnoy ApuTey JanIny
OTS ‘SUTJSeopeosg UM,
CAS ‘66% ‘Appay, IsUINL
TSP Jo ,saaneniy Areyunjo, way,
€9-$S6 ‘EGS
‘COS “HIG]] aa10aIps/uoyeredas sal

QbE ‘SOS say AL
LBS ‘€6F
‘O8-82F ‘ELF Jo punorsyorq Apuey
ECT ‘ZOT Jo Nod pooypyya
GLS ‘TS-SFS
‘GF-SPS ‘TH-LPS ‘EE-E75
‘OT-615 'ZT-€0S ‘LOS~F6P
‘T6~Z8P ‘OR-T SF ‘2L-FLb
‘CLE ‘OL-89F ‘LEP 'TE-LTP ‘STP
‘PTF ‘OGE ‘TOL ‘OF ‘ST ‘PAL Tuan,
6245 STS ‘66P ‘HeqY Toumy,
627} ‘Aon'y] 19uM],
SAS °ZES ‘OTS ‘66h ‘BINeT TOU,
S25 ‘ZES ‘66P ‘sTuUAf TOWN],
S49 ‘66F ‘pandaimvag ‘TOUT,
69 ‘UBsng ‘Taqmy,
661 ‘C61 ‘69 “S 4eH ‘UeTINIY,

‘SET ‘sesteay HERAT, -

SPL ‘siney-ave[ “yoeus HUI],
CCP '67P Isoueds ‘AovI7,
BL7 ‘927 *(CUTB) uarg 4A INO],
FIT ‘dy ‘WoL,
Z1F ‘OLF AFT ‘TATHIOT,
TEs ‘Hau ‘TL.
TS ‘29
‘09-67 ‘(etOY BrusopTeD 8,4 [) WeiwesLL
£9 ‘9010q Bt,
SOF ‘PURIST BTW SOIL
Sop ‘STP sans ‘uosdwoyy,
EES ‘BOC LET ‘PET ‘ECT ‘9TZ
‘G1Z ‘€1Z ‘T1Z ‘8-£02 ‘907 ‘707
‘(unTR) ¢hayy, 3,uo ‘sasiopy jooys fiayy
PE-EET
‘TEL ‘(UE) BID aqTIFT 8 SDAA Bay,
CLT ‘Bima ‘BIaq[etL.
86 ‘82 ‘95 ‘ST ‘paemoy ‘WURUITSTaY,
£9 ‘Wazaqoy ‘IopAeBy,
PSS “89¢ ‘satel ‘TOpABy,
SQT ‘Woreys ‘ae,
ELT ‘TET areq ‘Yysepemy,
£65 ‘8ST ‘SET
‘FET ‘6T-8ZL OTT “(Unp) A079 FUT,

O8Z "627

'GL-BLT ‘€L-TLT ‘OLT ‘697 ‘097
“BSE ‘CS-TST ‘Pleuog ‘pauepeqns
£66 ‘LET ‘(UaTY) Yor May) uy Ropuns
SPL ‘TET ‘SP ‘GE ‘oTedmyy ‘wWeaeyNg

S68 XIaQNI

896 987 ‘T8Z ‘(Sas)
Aya190g ayeID0UID(] B JOY syuspTyS
TZL ‘99-S9T ‘(OONS) seyiUED
SUNeUIpPiooD jUS[OTAUON JUSpNyS
Ist
‘APL ‘TPL ‘GOT ‘ayoutry ‘B1aqfous
OLZ ‘Baquey ‘puesjaqg
99¢ ‘Ara ‘daans
OLL ‘PLL ‘ELT Wesng ‘Braqseys
OTT ‘FTT ‘bined “siaqsens
€SZ ‘TST ‘SET
‘SOT ‘OS-6Z1 “PZ-CZL 'LZ-SIT
‘OTL ‘SEL ‘FI-CTT 327 ‘Sraqseng
SPP ‘CPF ‘OFF
‘OTT ‘29 'S9 ‘SF ‘oe ‘AUR, ‘reals
OFE ‘OST ‘BHO[D ‘weutaIsg
OTT “Wesng ‘u1e49

SOE STE “62 conf TS

SOT ‘OTT ‘slog ‘alas
78Z
‘E<-ZLT ‘69 ‘(wUY) sani” punhijears
SOT 'SE-PET ‘ABY “HTEIS
CPP ‘SET ‘earequeg SpAmueys
oF
‘SSF ‘6C-BZE ‘(UNY) stay <p Rayunns
ETL ‘OI}URISUOYy ‘AYSAB[STUBIS
£9L‘Z9T ‘ureg ‘adards
OSL ‘OZT ‘SOT ‘Aqay ‘taatneg
STFU ‘GQg) 208 1] ayry atuog
S25 ‘(UP AL) HID 84aqpjog
SEE 'STE “S97 ‘adacay ‘yIWS
ZH-TPS
‘SES ‘ZE-LES ‘8,g/ AepyNG panxs
68F ‘COT “ueI ‘eyeUg
SZT ‘TSN ‘doug
Gé-$2€ ‘Ualey ‘poomyis
6TE '8ZZ ‘OOZ-Z6T ‘F6-E61
‘TFT ‘GET ‘BET ‘auOUS ‘aI0UsTg
Tél ‘od é£L ‘@UOjapely ‘poomsays
BET ‘Maqoy ‘[[M4eqg
POE TSN ‘Teyays
60S ‘pletiog ‘meys
BL°SL'TL‘TL ‘ED ‘OS ‘OF
‘Ch 'OR LP 67 BE ‘OZ-SZ ‘GL ‘ST
‘4T'GI-ST ‘OT ‘6 ‘(Gatoupuesg)
Tamog sTydeg “MmowAéeg

cP
‘97-7 ‘(JayeypueIZ) poy ‘moursss

66F ‘TI Ploprayyny ‘japaag
SrP
‘(MospuRiddsys) y UO ‘TepAss
OFT ‘LOOT “LT toquiaydag
PSC ‘SONY
OUST SFU] USWUUIIAOT)
WO aa} {UO} Joa]ag ayeuag
SCE ‘CTE
‘S3]]TUNUOD sadlAleg pally ajeuag
76 “OQ plakg ‘TazpPS
76 Auuec ‘yawes
99¢ ‘adtoat ‘TRdag
BLT '9S—SS7 ‘E9T ‘UBal “‘Braqasg
LZ9E “SITS
‘PPI CPE TPT ‘Saayye soprouyas
T9€ ‘OGe ‘Urol eurseios
999 ‘BEC ‘17e
‘FOZ 26E “S6-66T ‘eypeuEl “yeRag -
OP 240] ‘Aaeyay
F6L ‘6ET ‘Weg-ueal ‘arses
gZe
‘ZOE ‘TIE ‘O9E ‘SFE ‘OPTEAA ‘TRS
GZ] ‘aulat ‘syeS
CFF ‘OB B4q ‘yuTeS

CEP STP SEW ‘eps
6ZE "QTE ‘oueyoey) ‘OssTly]
£97 ‘Prevod ‘ppaysumy
€7S ‘217 ‘Tumy
67-8ZE “OD UYOl purpmoy
AOF *€ OF ‘yey ‘BIaquasoy
BLP TPP
£9'TS'TR'2Z€ “G Ulpaly ‘yasosooy
COF ‘IouPalTy ‘qeaasooy
FS-£SF (UG) 4aa07]047
ZEE ‘TEE ‘OLE ‘OTE "Yory ‘puepoy
QP Iasury ‘siasoy
SPE
‘Sp-ZPz Aueydids ueyonopy A*Ooy
LOF
‘ELE ‘Q9E “QQT ‘Uosel ‘spreqoy
Tee 67 £ ‘Weydarg ‘sueany
S6-F61
‘(AULIY 9U]] epmsuy s134sisay) VL
COG ‘POS ‘BoP
‘SSL ‘SZ ‘6% ‘LZ ‘CREW Jouley ‘oxy
TZ1 ‘OZT ‘Qeeg 'spreqory
FOZ ‘suneLpy ‘Yyory

XJIdNI ¥F6s
‘po ‘OPT VIB] tauyoy fo Swieog payoajag Woy ,syuegsy aL, Woy pie
« ”" PHOM ayy Ul attOye 00} We |, Woaxy souy ssaysTqng suT[Oj Jed ey]

‘OTI ‘xno pue sneyg Ieasrey jo UOISLAIp e ‘ssalq jog WION
Jo uoysstatied Aq payuyiday ‘mous Prempy Aq 966T & TysUAdoo uOonY|
“SUBLL “MOUs prempy Aq ‘suey ‘ayy eLTeyy aguTey Aq suua0y paqoayjoouy
woy ,djay weumny Joy pasead om se ‘UY, ‘OTT ‘xnomy » snes deamy

“UOTssTOLJad YILM posh pue
‘OpUuOT py] syoog yuoursy 4q peysyqnd ‘surenpiy Aras1eyy jo ayeysg
PLL CTL D WB UAdoD “yqqny uaazaaya, a4E WOOL] “pyy] syoog juoursy

“WUOD ‘propeY ‘adayoo Ayu
HW) Jayde ‘suze SOPIeYD Jossayoly jo uolsstuaed Aq paqujider
st suypieq sayreyy Aq JMeSISSY sUBPIse sy], “UyIeQ sapreyo

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doyst[qnd
5} JO uorssturied Aq payuniday (1007 ‘syoog axepoolg) JoyIeYc Zeywy
Aq faa ay) sof ywads 7 Woy SUT INOUOT, WoL :syoog oxEpoold

‘SULMOTIOY 3tY] 0} Waard st yUsUASpayMOUyIe [NyayeIy

SNOISSIWNN Ad GNV S.LIGTYO

90 ‘80€ ‘PIeMOyY ‘THI,
61¢ ‘4T-STS
‘(d43q ‘oapeg) o|doed usayeqez,

SOE ‘SZC ‘I6T
‘SET ‘89 "PE ‘CUITY) ujooury ayy Bunox
O£S ‘26% 'T9E ‘marpuy ‘Buono,

E97 WEYTIM 13]4M
ZOS ‘ESF ‘ACF ‘OOP-ZBE
‘TE-OET ‘SE ‘UreIZoT jNOyION,
ETT ‘suueol ‘paempooy
FCS ‘£6P ‘39 ‘Spoor,
995 ‘45S ‘OFS
OOP ‘TOF ‘83 ‘USg ‘UOLEyY URTIpPOOM
SOT PET “OCT ONCIEN *poom
(07) $ 0} @ ‘wusyUpUay os aag
TLé
‘PE-CRT ‘S cE “JUsTUdACUI § Watiom
cé6e ‘(al
pure Aqyregoyy) ay fo suru0D uawiag,
PRE ‘LTE ‘OO’ ‘TAT ‘BOT ‘LZ9-£97
‘19-667 ‘Wonesyssau] Je1pjos 17
Zz ‘yerd¢ Aaruryy,
LLEPS-EST ‘BOPIOS ‘si
62 ‘PIegieg ‘Suey
OTT FIT Ait “epi
997 ‘(UY) sbuy pr auL
ZTE JOYEM INA
LO ‘STE FTP ‘STAG ‘UMMA
OLT ‘Preyory “YTeWIpLAA,
PLE ‘CLE ‘ZGE “TSE “TeyseHy WolXoA,
ELS
‘2£SS ‘C6P ‘Z9P ‘£9F ‘OLF ‘TOF
‘TOF ‘FSE ‘E9-Z9E ‘BNR ‘WoIsUTAAA
TOE ‘RUURH ‘WS ISUISAA
€S€'Tl-LTE ‘Z8Z ‘PIeuesy ‘ssepsulaAA,
SAE °£9 ‘SQ ‘UO ‘eTABA
62 ‘May ‘WRTILIOSSE/,
94€ ‘TLL B21 ‘yor weutEy
226 ‘797 ‘Apury ‘youre
E6€ ‘16 ‘Paeqieg ‘saayjey
SC ‘SET ‘(CNY) aplg prLAA ayy wo APB
69°€9 ‘OT ‘OT Appar, ‘THe
TIP 'OLF ‘auef tousea,
25 ‘PE-ET ‘DOL ‘apem

XAQNI

GLE PLE 'TL-1LLE
‘L9€ ‘OS-6FE ‘SPE “WOL ‘TYSIOA
999 ‘SEZ ‘LZz ‘TOT ‘261
‘96-S6T ‘(heyos) ong wag fo abugA ayy
FOE ‘O8Z
'S9-P9T ‘O97 ‘GST ‘FFT ‘(MVAA)
TEA OU} sUledy suelayeA WRU aTA
8S-ZS€ ‘TEE TEM oq) SulOTM pup
6E-BEE ‘UONNOsoY FIND Up[UO], puw
T8T
‘ 6 ¢ 1 “Bisyued T2701 qouos 4 pus
BSE
‘UOT ‘66-26E ‘P6-£6T ‘SURLY pue
SSE ‘SEE “ULaeM Jo pua
LS€‘6EE
“OTE ‘CCE DEZET UIssoyqMOq
Gps ‘UOCE
‘OSE ‘ES-ZCE ‘OLE “SZ-PTE
‘ETE ‘LZ-POE 'EOC-T6T ‘WREOIA
CRF ‘OZ ‘0D ‘EplA
£91 ‘S-FOT
‘COT '66 ‘86-26 ‘88 ‘OE ‘odaT[O Tesse,
TSS ‘OFS ‘ud}pey “inqzac] Ue,
OSC ‘EST ‘OFC ‘PHT TPT BET
‘GET ‘PET ‘TE-TET “Weqesly 'pueyie,
09s
‘85-295 ‘16 ‘Jo souRtUOped
S,Al ‘sanBopouopy vupv, ai],
TPT ‘ere, ‘WIpea
£L5'€9G ‘OOS SSS ‘BSS
‘EGS 'SP-OLES 'TRS 'ZES ‘67S
‘LTS ‘ETS ‘96-S6F ‘76F ‘OGF
‘SBP OLE ‘SOP ‘FOP ‘COP ‘TOP
‘LEP ‘OPP SPE GE-SEP FTP
‘OGE ‘PRE TRE LAE ‘SZE'Z9E
‘CSE ‘GEE ‘BRE LEE ‘OPE “PRE
‘THE ‘OLE “SBT EST ‘OST 627
‘ZT ‘OZT ‘697 ‘C97 IST 'ATZ
‘TET ‘61T SEC 'Z1Z ‘917 ‘FIZ
‘ETC ‘TTZ ‘907 ‘P-£Oz ‘781 ‘FFI
‘CEL ‘TFT ‘(40]ysnep) essaun, ‘uTpRA
Tez ‘9TZ ‘OST
‘SPT FFE ‘ZL ‘ZOL ‘Jo ssupps
Sol
, Bpezaq ay] jo AyIRg ayy, pue
+{p,JU09) Jasoy ‘TPE,

965
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4:03

Case

“Bld “Tae OU] “SN
Sue Qn, sioyjolg JausreM Uolsstuag Aq pasy ‘poadasal syysI |Tv
‘dion Surgsyqng auepewey-aurey, Aq PHOISTUMUPE SYS PY “OIsnyy
sem] styoyy pue sauooy, opeFuudg ‘oysnyy seg way, “oUT oIsnyy uOol|
THD (pemattal) 9967 @ IYSIAAdog ‘sT[G uaydeays Aq sisnuT pue spiom
‘YOM SIT WYM 40J WoIZ “UY 'g] suOTLOHQNY sasyjOIg JOULE

668 SNOISSINUdAd GNV SLIGAuD

OU] ‘syOog STSUBIY HY OAR] s/adpaywnoy jo ors
-stunied Aq paonposdey “0661 @ WSUAdOD *(OG6T ‘ABpaymoy) Z¢T ‘d
‘BUM JSAUTY JJaqiy Aq ‘suBA) ‘siuaog paqajag :ayyNY VIU_YYyY saupYy
Woy ‘F 'T] ‘snaydiQ) 0} syauuog ayy wWo1q \dnoig spueig pue 10jAey,

TepYy-Isle}§ supe
jo uolsspuaed Aq payutiday “(SOOZ ‘sse1d 38a{[09 sI9T9B9], “A'N) WPA

~. Wosolg esr] pue (py Wepy-Jeuyeys ouprayyeg Aq diyssapvay puv yyvayy
-4aMmog LIN Buyuapy -seajasing fo yng worq :aTepy-JoUlo}g auayye)

‘au, (¥SQ) dnosry umduag jo
UOISEAIp B ‘JausIg MONG Jo worssyuJed Aq pass) ‘Ouy ‘suUOMONpoIg WO
pue UUPWIYSTay, premop AQ [861 @ JusuAdoo ‘ueUITDSIay, plemoy

~ WI epuoy Aruayy Ag afr] Ay cwpuog wiorg vou (ysq) dnoig umsuag

OJOLdold oy] pire “py y
jasuyjog “dio Sunysyqng suopoeng men jo Wotsstuied Aq payutaday
AOLIBAP] astdaqy Aq A861 @ 1WWswAdos ‘uetApCoy sodjysasaT astuaq
Aq OZ61 & WstsAdod ‘776 1-S 96] ‘Sutaog Woy A0VIEAST astuaq Aq ,39q
-eydyy eq} sulamapy,, Worry uopyercdi0g Surysyqug suonoaligq, MaN

"TesIOpy WIGoYy
JO WOTssTWed aty] WJIM payUyidol ale uesi0yy Ulqoy Aq 0ay712M PeUl-9 we
poe vessioyy uiqoy Aq audy Bumung ayy wo ydazeoxe wy :uRs10yy UIGOY

"PIT Saye
“lossy 3p ABsUey O}OTeseD puke UeNTyapy Tarst[qnd ayy yo worsted
Aq posn puog prempy Aq ,alesyy, oy) FuAeey] up,, wWosy aanyyey]

“HOIssItuad Aq pasy) ‘paaJasay
syUsTy [[V “oIsnW Uostzey Aq peysiqnd ‘(IWVq) ‘OUT aisnyw 8ng Aq pa.ay
“sHUTMpY /(AVOSV) ‘0D ‘ssuosiofe~ Aq paysyqug ‘TPessny qoy pue uew
“319 [Teo Aq vam ,BuLa]eg,, oisnyy Wos|zey pue ‘09 ‘ssuosioley

“uorsstulied Aq pos(] ‘paammoas
qyssAdo_D JeuotetJayuy ‘paarasay syysny [TY ‘WSN OWIOyOY 6861 O
ypsédoo ‘yrey stuuog Aq waz}LLM | SUULY, JO YOIN,, Wor soIsnyy owOxOY

“OLY SLOYsl]qng sulpyoojsadsrey Jo ucisspuiszed
Aq poyuniday 4[q 349qoy 4q [861 @ 1Y4sddo| AY[gq Jaogoy Aq ‘sues pue

SNOISSIWNUTd GNV SLIGT#D R65
